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United States Court of Appeals

as the mandate on Jul 12, 2024 Jun

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No. 22-50732
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Mi FamiLia VoTA; MARLA LOPEZ; MARLON LOPEZ; PAUL
RUTLEDGE,

Plaintiffs—Ap
versus

KIM OGG,

Defendant—Ap

OCA-GREATER HousTON; LEAGUE OF WOMEN VOTERS OF
TEXAS; REVUP-TExAs,

Plaintiffs—Af

versus

Jose A. Esparza, In His Official Capacity as Texas Secretary of. State

(Acting); ET AL.,

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KIM OGG,

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Case: 22-50732 Document: 203-2 Page:2 Date Filed: 07/14/2024

No, 22-50732

LULAC TExas; VOTE LATINO; TEXAS ALLIANCE FOR RET!
AMERICANS; TEXAS AFT,

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Plaintiffs —Appellees,

versus

JosE ESPARZA; ET AL.,

Def

Kim OGG,

pndant,

Appellant,

DELTA SIGMA THETA SORORITY, INCORPORATED; HOUST
AREA URBAN LEAGUE; THE ARC OF TEXAS; JEFFREY LAM
CLEMMONS,

Plaintiffs—A

versus

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ppellees,

GREGORY WAYNE ABBOTT, Jn His Official Capacity as the Governor of

Texas; ET AL.,

Defe

KIM OGG,

ndants,

Appellant,

M1 FAMILIA VOTA; MARLA LOPEZ; MARLON LOPEZ; PAUL
RUTLEDGE,

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No. 22-50732

Plaintiffs—Appellees,
versus

GreG ABBOTT, In His Official Capacity as Governor of Texas; ET AL.,

Defendants,

KIM OGG,

Appellant.

Appeal from the United States District Court
for the Western District of Texas
USDC No. 5:21-CV-844 -XR
USDC No. 1:21-CV-780
USDC No. 1:21-CV-786
USDC No. 5:21-CV-848
USDC No. 5:21-CV-920

Before RICHMAN, Chief Judge, SOUTHWICK, and OLDHAM, Cir¢uit
Judges.

JUDGMENT

This cause was considered on the record on appeal and was argued by
counsel.
IT IS ORDERED and ADJUDGED that the judgment of the
District Court is REVERSED, and the cause is REMANDED) to the
District Court for further proceedings in accordance with the opinion of this

Court.

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IT IS FURTHER ORDERED that each party bear its own costs

on appeal.

The judgment or mandate of this court shall issue 7 days after i time
to file a petition for rehearing expires, or 7 days after entry of an order denying
a timely petition for panel rehearing, petition for rehearing en banc, or motion
for stay of mandate, whichever is later. See Fed. R. App. P. 41(b). The court
may shorten or extend the time by order. See 5th Cir. R. 41 1.0.P.

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Gnited States Court of Appeals y
for the Fifth Circuit

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VESTERN DISTRICT

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Unite States Court of Appeals

Fifth Circuit

FILED
No, 250732 June 20, 2024
Lyle W. Cayce
Mi FAMILIA VoTA; MARLA LOPEZ; MARLON LOPEZ; PAUL Clerk
RUTLEDGE,
Plaintiffs —Appellees,,
versus
KIM OGG,
Defendant—Appellant,
OCA-GREATER HousTon; LEAGUE OF WOMEN VOTERS OF
TEXAS; REVUP-TExXAs,
Plaintiffs—Appellees,
versus
Jose A. Esparza, In His Official Capacity as Texas Secretary of State
(Acting); ET AL.,
Defendants,

KIM OGG,

Appellant,

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LULAC TExas; VOTE LATINO; TEXAS ALLIANCE FOR RET
AMERICANS; TEXAS AFT,

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Plaintiffs—Appellees,

versus
JosE Esparza; ET AL.,

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Ap

DELTA SIGMA THETA SORORITY, INCORPORATED; HoustT‘¢
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GREGORY WAYNE ABBOTT, Jn His Official Capacity as the Governor of

Texas; ET AL.,
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KIM OGG,

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MI FAMILIA VOTA; MARLA LOPEZ; MARLON LOPEZ; PAUL
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2/2024

versus
Grec ABBott, In His Official Capacity as Governor of Texas; ET AL.,
Defendants,
KIM OGG,
Appellant.

Appeal from the United States District Court
for the Western District of Texas
USDC Nos. 1:21-CV-780, 1:21-CV-786,
5:21-CV-844, 5:21-CV-848, 5:21-CV-920

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Before RICHMAN, Chief Judge, and SOUTHWICK, and OLDHAM,
Judges.

LESLIE H. SOUTHWICK, Circuit Judge:

This is an interlocutory appeal from the district court’s denial ¢
tion to dismiss. The Plaintiffs are civil rights groups, voters, and an ¢
official. They seek to enjoin recent amendments to Texas’s electio
alleging that those amendments violate the United States Constituti
several federal statutes. The Defendant is the District Attorney for
County who is sued in her official capacity. The district court den
District Attorney’s motion to dismiss, holding that she is not immuy
the Plaintiffs’ constitutional claims. The district court also found th
tiffs have standing to bring their claims against the District Attorn¢
hold that we have jurisdiction to hear this appeal and that the distri¢
should have dismissed the Plaintiffs’ constitutional claims as barred
ereign immunity. We do not reach the issue of standing. We REVE
part, VACATE in part, and REMAND for further proceedings.

Circuit

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FACTUAL AND PROCEDURAL BACKGROUND

On September 7, 2021, Texas Governor Greg Abbott signed into law
the Election Protection and Integrity Act of 2021. The enactment is generally
known by its Texas Senate bill number, “S.B. 1.” See Election Integrity
Protection Act of 2021, S.B. 1, 87th Leg., 2d Spec. Sess. (Tex. 2021); S.B. 1
modified various provisions of the Texas Election Code concerning Wvoting,
early voting, voting by mail, and voter assistance. See id. S.B. 1 also odified

some existing elections-related criminal statutes and created seveyal new
ones. See, ¢.g., TEX. ELEC. CopE § 33.051(g) (making it an offens¢ for an
election officer intentionally or knowingly to refuse to accept a poll watcher
as required by law); § 276.015(b)-(d) (criminalizing “vote harvesting)”).

Several advocacy groups and others filed lawsuits challenging 5.B. 1’s
constitutionality. They alleged certain provisions violate federal gtatutes
including the Voting Rights Act of 1965 (“VRA”), the Americans with
Disabilities Act (“ADA”), and the Rehabilitation Act. These suits were
consolidated on September 30, 2021. The advocacy groups alleged PB. 1’s
restrictions would impact their ability to advance their respective njissions
and their members’ ability to vote and to assist others with voting.

The complaints originally named various state and county officials as
defendants, including Texas Attorney General Ken Paxton.
Section 273.021(a) of the Texas Election Code authorized the Aftorney
General to enforce election-related criminal statutes, including those
established by S.B.1.

On December 15, 2021, the Texas Court of Criminal Appeals held that
Section 273.021 violated the separation of powers clause of the| Texas
constitution and was therefore unconstitutional. State v. Stephens, 663
S.W.3d 45, 51-54 (Tex. Crim. App. 2021) (citing TEX. CONST. art. II, § 1).
The court concluded the Texas constitution “grants... authority tojcounty

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and district attorneys” to “[rJepresent[] the state in a criminal prosecution
for election law violations,” and described this authority as “the specific duty
of county and district attorneys.” Jd. at 52 (citing TEx. CONST. aft. V, §
21). It explained that “the Attorney General can prosecute with the
permission of the local prosecutor but cannot initiate prospcution
unilaterally.” Jd. at 55.

Three Plaintiffs groups — the LULAC Plaintiffs,1 MFV Plaintiffs,’
and OCA Plaintiffs? (collectively, Plaintiffs”) — responded to Stephens by
amending their complaints to add several district attorneys as defendants,
including Kim Ogg, the Harris County District Attorney. The Plaintiffs
challenged several S.B. 1 provisions and alleged that Ogg is a |proper
defendant for their claims under the First, Fourteenth, and Fifteenth
Amendments of the United States Constitution, Sections 2 and 208 of the
VRA, Title II of the ADA, and Section 504 of the Rehabilitation Act.

Ogg offered the Plaintiffs a “stipulation” or “non-partiqipation
agreement” under which she would refrain from enforcing the challenged
criminal provisions “until such time as a final, non-appealable decisjon has
been issued in this matter.” The Plaintiffs rejected the stipulation, Ls euing
on appeal that the “limited offer did not bind Ogg to any final ruling on the
merits; require her to produce discovery in the case; or impact her statutory
duty to aid the Attorney General when called upon to help ravbstigate

1 This group includes LULAC Texas, Voto Latino, Texas Alliance fo Retired
Americans, and Texas AFT.

2 This group includes Mi Familia Vota, Houston Justice, Houston Area Urban
League, Delta Sigma Theta Sorority, Inc., The Arc of Texas, Marla Lopez, Marloh Lopez,
Paul Rutledge, and Jeffrey Lamar Clemmons.

3 This group includes OCA-Greater Houston, League of Women Voters df Texas,
REVUP-Texas, Texas Organizing Project, and Workers Defense Action Fund.

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election infractions.” The Plaintiffs also complain the stipulation did not
“rule out her granting permission to Attorney General Paxton tp bring
prosecutions under S.B. 1 within her jurisdiction.”

Ogg moved to dismiss all claims brought against her under Federal
Rules of Civil Procedure 12(b)(1) and 12(b)(6). The motion included
assertions of sovereign immunity and a lack of standing. The distriqt court
granted the motion in part and denied it in part.4 The court allowed the
Plaintiffs to proceed against Ogg with challenges to the criminal provisions of
S.B. 1 but dismissed claims that sought to challenge election code pravisions
that impose only civil penalties.’ The court held sovereign immunity did not
bar the Plaintiffs’ claims under the exception carved out in Ex parte| Young,
209 U.S. 123 (1908). The district court likewise held the Plaintiffs had
standing to assert their claims against Ogg.

Ogg filed a notice of appeal. She also moved to stay discovery and
further proceedings against her. The district court denied the motion to stay.
Ogg then sought a stay in this court. In an unpublished order, a pane} of this
court denied Ogg’s motion on October 7, 2022. The panel held that Ogg
failed to justify a stay because she had “no likelihood of succeeding) on the
merits” on her sovereign immunity defense to the Plaintiffs’ VRA| claims
“because the VRA explicitly abrogated sovereign immunity.” The panel

4 In separate orders, the district court also granted in part and denied in}part the
motion to dismiss filed by the State of Texas, the Governor, the Secretary of State} and the
Attorney General. Appeals from those orders were consolidated under case numpber 22-
50775. The appeal before us relates only to the district court’s order denying Ogg’s motion.

5 Specifically, the district court allowed the Plaintiffs’ claims to proceed with
respect to Sections 4.06, 4.09, 6.04, 6.05, 6.06, 7.02, and 7.04 of S.B. 1, which extend to
Sections 276.015, 276.016, 276.017, and 276.018 of the election code. All these provisions
“create or implicate one or more criminal offenses” or “contemplate criminal offenses”
under the election code. Our decision is limited to these provisions.

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further “decline[d] Ogg’s invitation to prematurely review [her] p
and standing arguments at the motions stage of an interlocutory
concerning a wholly separate sovereign immunity issue.”

DISCUSSION

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appeal

There are three issues presented in this interlocutory jppeal:
(1) whether we have jurisdiction under the collateral order doctrine toreview
the district court’s denial of sovereign immunity as it relates to some, put not
all, of the Plaintiffs’ claims; (2) whether the district court erred in denying
Ogg’s motion to dismiss the Plaintiffs’ constitutional claims b ed on

sovereign immunity and the Eleventh Amendment; and (3) whet
Plaintiffs have standing to assert their statutory claims. Because
resolution of the first two issues, we need not reach the third.

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We will start our analysis with examining our jurisdiction overjthe ap-

peal. Because we find there is jurisdiction, we then apply de novo re
the district court’s dismissal under Rule 12(b)(1) for a lack of jurisdi
that court. Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir. 2008). I
so, “we take the well-pled factual allegations of the complaint as ti
view them in the light most favorable to the plaintiff.” Jd. “The b

proof for a Rule 12(b)(1) motion is on the party asserting jurisdi
Greiner v. United States, 900 F.3d 700, 703 (5th Cir. 2018) (citation or

L Appellate jurisdiction to review the denial of sovereign immunity

Federal appellate jurisdiction is generally limited to review o

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nitted).

F “final

decisions of the district courts of the United States.” 28 U.S.C. § . This

appeal is not from a final decision but from an order that rejected a so
immunity bar to the Plaintiffs’ constitutional claims against Ogg. {
vokes the collateral order doctrine on appeal as a basis for our jurisdic

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tion.

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We must first conclude we have jurisdiction before considering the
merits of this appeal. BancPass, Inc. v. Highway Toll Admin., LLC, 863 F.3d
391, 397 (5th Cir. 2017). Under the collateral order doctrine, we may hear
“interlocutory appeals from a small category of decisions that, although they
do not end the litigation, must nonetheless be considered final.” Jd. (¢itation
omitted). This narrow doctrine applies only to decisions that (1) pre not
“tentative, informal or incomplete,” (2) “deal[] with ‘claims of rightbepara-
ble from, and collateral to, rights asserted in the action,’” (3) are “eff¢ctively
unreviewable on the appeal from final judgment,” and (4) are “too important
to be denied review.” Doleac ex rel. Doleac v. Michalson, 264 F.3d 470, 490-
91 (5th Cir. 2001) (emphasis in original) (quoting Cohen v. Beneficia} Indus.
Loan Corp., 337 U.S. 541, 546 (1949)). These requirements are demanding.
See In re Deepwater Horizon, 793 F.3d 479, 484 (Sth Cir. 2015).

The Plaintiffs argue we lack jurisdiction because Ogg’s sovereign im-
munity defense, at most, could apply only to the Plaintiffs’ consti

from an entire suit exists, not from specific claims, citing Puerto Rico Aqueduct
& Sewer Authority v. Metcalf & Eddy, Inc., 506 U.S. 139 (1993), and Planned
Parenthood Gulf Coast, Inc. v. Phillips, 24 F.4th 442 (5th Cir. 2022). The
Plaintiffs argue the “piecemeal nature of Ogg’s immunity defense undercuts
any basis for collateral order review.” We examine this interpretation.

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6 This court held that Congress enacted the VRA under “its Fifteenth Amendment
enforcement power, [thereby] validly abrogating state sovereign immunity.” OC4-Greater
Hous. »v. Texas, 867 F.3d 604, 614 (5th Cir. 2017).

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A. Review of the factors governing interlocutory appeals

We start our review by discussing what the collateral order dbctrine
demands. Understanding why a denial of sovereign immunity from am entire
suit is reviewable on interlocutory appeal can help us evaluate appeals from
less-than-complete immunity decisions.

We earlier enumerated the factors that govern our decision. The first
is satisfied, as an order denying sovereign immunity is not tentative. If marks
the point at which a court informs the State it must defend itself. See Metcalf
& Eddy, 506 U.S. at 145. Even if the denial is of immunity from My one
claim, there still is a definitive ruling. See Texas ». Caremark, Inc., 584 F.3d
655, 658 (5th Cir. 2009).

The second factor is also met, as sovereign immunity is a sep
sue from the merits of a case. Evaluating whether there is immuni
suit or a claim in no manner determines the merits of asserted clai
whether they are assertable. See Metcalf & Eddy, 506 U.S. at 145.

As to the third, a denial of an assertion of sovereign immunjty that
applies to an entire suit is reviewable on appeal after a final judgment, but the
effectiveness of that review to protect the State’s interest is minimal Hecause
a substantial part of the benefit of immunity has been lost. The denial of im-
munity from some but not all claims potentially imposes on the Stat¢ an er-
roneously broad obligation of defense that must be endured before the error
is corrected on appeal. See Virginia Off. for Prot. & Advoc. v. Stewart, 563 U.S.
247, 258 (2011). Jurisdictional issues like the immunity the Eleventh
ment represents “are founded in concern about the proper — and p
limited — role of the courts in a democratic society.” Roark & Hardge LP v.
City of Austin, 522 F.3d 533, 541-42 (5th Cir. 2008) (quotation marks and
citation omitted). A federal court exercising jurisdiction over a claim to
which a State is immune, even if other, non-immune claims exist, pt least

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increases the coercive process exercised by the federal court. Cf Leq ». An-

thony Lawrence Collection, LLC, 47 F 4th 262, 267-68 (5th Cir. 2022)

The fourth and final factor, namely, the State’s interest in py
from suit, is a significant interest justifying an interlocutory appe l.

Metcalf & Eddy, 506 U.S. at 146. Whether the State’s interest in p
immunity from only some claims but not others is significant enough
tify review under the collateral order doctrine is an issue we will c

later in the opinion.

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Thus, the general considerations for allowing interlocutory appeals

give meaningful support to allowing an appeal from the denial of so
immunity over some but not all claims. We now examine caselaw t
there are comparable appeals that have been allowed.

B. Relevant caselaw

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In one precedent on which the Plaintiffs rely, the Supreme Coyrt held

that an interlocutory order denying a state agency’s claim of immuni
suit could be appealed as a collateral order. Metcalf & Eddy, 506 U.S
The Court reasoned the Eleventh Amendment “effectively confers

ty from
at 141, -
an im-

munity from suit” such that, “[a]bsent waiver, neither a State nor agencies

acting under its control may be subject to suit in federal court.” Jd

at 144

(quotation marks and citation omitted). Therefore, when district co

rts re-

ject States’ or state entities’ claims to immunity signified by the Eleventh
Amendment, those rulings are “conclusive determinations that they have no
right not to be sued in federal court.” Jd, at 145. For that reason, immediate
appeal under the collateral order doctrine is permitted. Jd. at 147. Iq is true
that the Court referred to whether a state governmental entity is “sqdyect to
suit in federal court.” Jd. at 144 (emphasis added). Nonetheless, the jssue of

appealability of denials of claims to immunity only from some claims

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did not

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exist in that case. We must look further to determine whether we have juris-

diction over this appeal.

In another precedent, two Planned Parenthood entities and titre in-
dividuals sued the Louisiana Department of Health, alleging the Department
unlawfully declined to act on a license application to provide shorn ser
vices. Planned Parenthood Gulf Coast, 24 F.4th at 445. There ware two
claims: one regarding the Department’s failure to act on the applicatjon and
another regarding a Louisiana state law that prohibited “giving taxpayer
funds, including Medicaid funds, to abortion providers.” Jd. at 446-47. The
district court denied the motions to dismiss based on sovereign immunity.
Id. at 447-48.

In this court, the Department insisted “it has always asserted ‘im-
munity from suit,” responding to the plaintiffs’ argument that in
court, it had asserted more limited immunity. Jd. at 448-49. Itis in
text that we held there was collateral order jurisdiction “because the Depart-
ment asserted sovereign immunity from this entire lawsuit.” Jd. at 440. We
held that a State does not need to assert sovereign immunity independently
over each claim. Jd. at 450. The “jurisdictional inquiry is not overly tech-
nical” and we ask only whether “the state assert[s] sovereign immunity from
suit.” Jd. at 449. Therefore, our analysis in that opinion could prptermit
considering any issue of jurisdiction if the State had actually asserted less
than complete immunity. Concluding that complete immunity had been
claimed, we had no reason to address whether collateral order jurisdiction
also existed when sovereign immunity is asserted for fewer than all claims.

There is some language in the opinion suggesting we should hot ac-
cept the current appeal. For example, we referred to one of our preqedents
as characterizing that “a proper invocation of sovereign immunity jwill be
from the ‘entire suit.’” Jd. (quoting McCarthy ex rel. Travis v. Hawkins, 381

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F.3d 407, 411 (5th Cir. 2004)). In McCarthy, though (as in Planned

Parenthood), the defendants had asserted sovereign immunity from thi
suit. See McCarthy, 381 F.3d at 411. Thus, in neither case did this or need

to decide the right to appeal from the denial of immunity asserted o
than all claims.

> entire

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l order

Further, there is some suggestion in Planned Parenthood that i State

does not need to insist on immunity from all claims before the collater
doctrine will apply. The court stated that “[t]his is not the first time

have exercised jurisdiction over an interlocutory appeal where the s
serted absolute immunity from only some, and not all, of a plaintiff's

that we
tate as-
claims

in the district court.” Planned Parenthood Gulf Coast, 24 F.4th at 430 n.13.

The court then described BancPass as the relevant precedent. Jd. Tt

at case

arose “out of litigation between rival companies that specialize in highway

toll collection technology.” BancPass, 863 F.3d at 394. One of those
companies asserted absolute immunity from a defamation claim beca
allegedly defamatory communications were absolutely privileged as

private
use the
part of

munity from the plaintiffs other claim of tortious interference with cgntract.

judicial proceedings under Texas law. Jd. at 396. It did not assert fe im-

Id. at 397-98. We allowed an interlocutory appeal even though it
from the ruling on the defamation claim. Jd. at 398.

s only

We conclude that Planned Parenthood made no clear holding about the

need for complete immunity before the collateral order doctrine coul

1 be in-

voked for an appeal. Whatever that opinion or McCarthy did hold on the issue

would at most be dicta because that was not the issue those courts fac

We next examine opinions from other circuits cited by the par

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fies. In

a Ninth Circuit case, the State of Hawaii appealed the district court’ denial

of its motion for partial summary judgment, claiming the Eleventh 4
ment shielded it from exposure to punitive damages under Title Il

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ADA and Section 504 of the Rehabilitation Act. Burns-Vidlak ex rel. Burns v.
Chandler, 165 F.3d 1257, 1258-59 (9th Cir. 1999). The court held it Hid not
have collateral order jurisdiction because, unlike in Metcalf & at “the
State [wa]s not claiming sovereign immunity from suit.” Jd, at 1260. Instead,
Hawaii acknowledged it was subject to suit in federal court on soma claims
but sought a ruling that punitive damages were not recoverable. Jd) “The
foundation for the interlocutory appeal authorized by [Metcalf & Eddy) is the
existence of a right not to be a litigant... . Once the [state] defendayfts con-
cede that the litigation is proper, they undermine any claim of entitlement to
an interlocutory appeal.” Jd. at 1261 (alterations in original) (quoting Mercer
». Magnant, 40 F.3d 893, 896-97 (7th Cir. 1994)). The quoted Seventh Cir-
cuit opinion also denied the right to bring an interlocutory appeal when the
claim was not immunity from suit, but only immunity from one form $f relief
— damages. Mercer, 40 F.3d at 897.

Hawaii’s interlocutory appeal brought a far narrower issue |than is
made here, arguing only that a particular form of relief was unavailable even
though the claims themselves were properly brought. Here, the argument is
that the constitutional claims, and necessarily any form of relief for those
claims, are barred by sovereign immunity. We see that as a valid distinction,
but we also acknowledge the Ninth Circuit’s language emphasizes the need
to seek enforcement of “a right not to be a litigant.” Burns-Vidlak, 1p5 F.3d
at 1261 (quoting Mercer, 40 F.3d at 896). This opinion is certainly helpful to
the Plaintiffs but is not binding on us.

We interpret the analysis in a First Circuit opinion as being analogous
to that in the Ninth Circuit opinion we just discussed. See Espinal: Dolvinguen
v. Com. of Puerto Rico, 352 F.3d 490 (1st Cir. 2003). There, the plaintiff sued
Puerto Rico under Title VII for discrimination, seeking monetary compensa-
tion. Jd. at 493; 42 U.S.C. §§ 2000e to 2000e-17. The defendant argued that
the Eleventh Amendment barred damages but conceded it was subject to suit

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for the underlying claims because Title VII constituted a valid abrog4tion of
state sovereign immunity. Espinal-Dominguez, 352 F.3d at 493-94. THe First
Circuit held “[t]his concession . .. opened the Eleventh Amendmen} portal
at least part-way” and divested the court of appellate jurisdiction over the
interlocutory appeal. Jd. at 494, 499. The First Circuit also noted the}“foun-
dation for the interlocutory appeal authorized by [Metcalf & Eddy] isjthe ex-
istence of the right not to be a litigant,” and recognized that appellate juris-
diction in this circumstance “would require an extension of the holding an-
nounced” in that case. Jd. at 496-97 (citation omitted).

None of this caselaw addressed as a relevant issue whether a Sate de-
fendant who did not assert sovereign immunity from all claims could appeal
from a denial of that partial immunity. We consider it necessary, then]to look
beyond authority that discusses only the Eleventh Amendment. Wp do so
now.

C. Appeals from denial of other forms of immunity

In addition to permitting interlocutory appeals under the collateral or-
der doctrine from denials of sovereign immunity, the Supreme Cour has al-
lowed interlocutory appeals of orders rejecting absolute immunity, /Vixon ».
Fitzgerald, 457 U.S. 731, 742 (1982); qualified immunity, Mitchell ». Forsyth,
472 U.S. 511, 530 (1985); and a defense of double jeopardy for crimjnal de-
fendants, Abney ». United States, 431 U.S. 651, 660 (1977). Qualified immun-
ity is the only category of immunity for which the Court has addressed
whether an appeal may be taken from its denial even when other claims will
not be affected. See Behrens v. Pelletier, 516 U.S. 299 (1996). That immunity
is available only to individuals, not to the State, but we consider the Court’s
analysis to be relevant.

The Court considered the argument that denial of qualified immunity
should not be appealable immediately because “the defendant jill be

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required to endure discovery and trial on matters separate from the claims
against which immunity was asserted.” Jd. at 311. The Court explained that
in the context of qualified immunity, the “right to immunity is a right to im-
munity from certain claims, not from litigation in general; when immunity with
respect to those claims has been finally denied, appeal must be available, and
cannot be foreclosed by the mere addition of other claims to the suit.P Jd. at

312 (emphasis in original).

This court also has found collateral order jurisdiction in appeals from
denials of qualified immunity that had been asserted over only some (claims.
See, e.g., Waller v. Hanlon, 922 F.3d 590, 598 (5th Cir. 2019). At other times,
the application of qualified immunity will constitute “immunity from suit”
that “is effectively lost if a case is erroneously permitted to go to trial.’ Pear-
son». Callahan, 555 U.S. 223, 231 (2009) (citation omitted).

In Behrens as to qualified immunity, the Supreme Court made its only
clear recognition of a right to appeal the denial of an immunity when asserted
as to fewer than all claims. Even so, across the range of immunities, the Su-
preme Court has “stressed the importance of resolving immunity q
at the earliest possible stage in litigation.” Hunter v. Bryant, 502 US.
227 (1991). That has been expressed when addressing qualified 1

tect defendants from the burden, expense, and disruption of litigati
Metcalf & Eddy, 506 U.S. at 146 & n.5; Behrens, 516 U.S. at 308. Prqtecting
defendants from some of the expenses and burdens, even if not all, hag merit.

D. — The costs and consequences of litigation

Ogg contends the denial of sovereign immunity here would have con-
sequences “in terms of real costs and litigation burdens on state officials, not

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to mention courts,” where, as here, “some plaintiffs have sought expansive
discovery from... [her] and her office.” She highlights the district Fourt’s
“willingness to permit such expansive discovery” and argues this
“force local prosecutors to redirect resources.” The Plaintiffs respomd that,
because Ogg may be subject to the costs and consequences of litigation
through the Plaintiffs’ statutory claims, her claims to sovereign immunity are
undermined and we therefore lack jurisdiction.

would

Although both parties correctly highlight the costs and consequences
of litigation when considering whether sovereign immunity applies, the Elev-
enth Amendment’s purpose is not solely or even primarily fiscal. “
object and purpose of the [E]leventh [A]mendment were to prevent}the in-
dignity of subjecting a [S]tate to the coercive process of judicial tribunals at
the instance of private parties.” Ex parte Ayers, 123 U.S. 443, 505 |(1887).
Thus, burdens and expenses of litigation are a consideration, but the “ulti-
mate justification” for the Eleventh Amendment “is the importance of en-
suring that the States’ dignitary interests can be fully vindicated.” Mptcalf &
Eddy, 506 U.S. at 146.

For this reason, the Supreme Court rejected the First Circujit’s at-
tempt to distinguish sovereign immunity from qualified immunity under the
collateral order doctrine ‘“‘on the grounds that the States, as compared to in-
dividual officials, are better able to bear the burden of litigation.” Jd at 146
n.5. The Court reasoned that “[t]he Eleventh Amendment is concerned not
only with the States’ ability to withstand suit, but with their privileg¢ not to
be sued.” Jd. Likewise, the continued expenses Ogg might face on Plgintiffs’
statutory claims is not the primary focus of the Eleventh Amendment. It is
her privilege not to be sued over claims from which she is immune.

The Supreme Court has “repeatedly stressed” that the collateral or-
der doctrine is a “‘narrow’ exception” that should “never be allqwed to

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swallow the general rule that a party is entitled to a single appeal.” Digital
Equip. Corp. v. Desktop Direct, Inc., 511 U.S. 863, 868 (1994). The Supreme
Court has also “stressed the importance of resolving immunity questions at
the earliest possible stage in litigation.” Hunter, 502 U.S. at 227. We must
balance these important directions.

We conclude that recognizing jurisdiction in this case under the col-
lateral order doctrine is appropriate. Even though Ogg argues for the protec-
tions that arise from the Eleventh Amendment only as to part of the lawsuit,
we have jurisdiction to rule on those arguments.

I. — Sovereign immunity over the Plaintiffs’ constitutional claims

We now examine the merits of Ogg’s sovereign immunity deffense to
the Plaintiffs’ constitutional claims.

“Generally, state sovereign immunity precludes suits against gtate of-
ficials in their official capacities.” Texas Democratic Party v. Abbott, 961 F.3d
389, 400 (Sth Cir. 2020) (“Texas Democratic Party I”). The legal fi¢tion of
Ex parte Young, however, provides an “exception to Eleventh Amendment
sovereign immunity” in the subset of cases to which it applies. C#ty of Austin
». Paxton, 943 F.3d 993, 997 (5th Cir. 2019). The exception permits|federal
courts to enjoin prospective unconstitutional conduct by “individuals who,
as officers of the state, are clothed with some duty in regard to the enforce-
ment of the laws of the state, and who threaten and are about to conpmence
proceedings, either of a civil or criminal nature.” Ex parte Young, 29 U.S.
at 155-56.

must name individual state officials as defendants in their official capacities;
(2) the plaintiff must allege an ongoing violation of federal law; and}(3) the
relief sought must be properly characterized as prospective.” Greeg Valley
Special Util. Dist. v. City of Schertz, 969 F.3d 460, 471 (5th Cir. 2020) hy banc)

The Ex parte Young exception has three requirements: ‘“‘(1) A Ieiccs

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(quotation marks and citations omitted). Ogg does not dispute that th

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tiffs meet these general requirements. Instead, the parties dispute whether

Ogg is the correct defendant.

To be a proper defendant under Ex parte Young, a state official “must
have some connection with the enforcement of” the law being challenged.
Ex parte Young, 209 U.S. at 157. We once expressed that “[o]ur decisions are
not a model of clarity on what constitutes a sufficient connection to enforce-
ment.” Texas Democratic Party I, 961 F.3d at 400 n.21 (quotation marks and
citation omitted). Still, there are “guideposts” to aid the decision. Tavas All.

for Retired Ams. v. Scott, 28 F Ath 669, 672 (Sth Cir. 2022). They are
state official has “more than the general duty to see that the laws of
are implemented,” i.¢., a “particular duty to enforce the statute in qu
(2) the state official has “a demonstrated willingness to exercise that
and (3) the state official, through her conduct, “compel[s] or constrai
sons] to obey the challenged law.” Jd. (quotation marks and citatio
ted).’

We will assess each guidepost.
A. Oxgg’s duty to enforce the challenged provistons

A state official may be “specially charged with the duty to enft

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statute.” Ex parte Young, 209 U.S. at 158. “Where a state actor or agency is

statutorily tasked with enforcing the challenged law and a different o!
the named defendant, our Young analysis ends.” City of Austin, 943

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” Our Texas Alliance opinion expressed this formulation somewhat diffe!
placing the “particular duty” requirement as part of the second “guidepost” alon

side the

“demonstrated willingness” requirement. Texas All., 28 F.4th at 672. That reondering is
not legally significant. See id. at 672-74. Instead, we consider the duties requirements

together by first assessing Ogg’s enforcement duty and then analyzing her dem
willingness to exercise that duty. See City of Austin, 943 F.3d at 999-1000.

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998. The statutory text does not need to “state the official’s duty to ¢nforce
it, although such a statement may make that duty clearer.” Jd. at 997-D8. “A
general duty to enforce the law is insufficient.” Texas Democratic Party ».
Abbott, 978 F.3d 168, 181 (Sth Cir. 2020) (“Texas Democratic Party H?).

We earlier mentioned the Texas Court of Criminal Appeals’ 221 de-
cision that discussed the enforcement of S.B. 1. Stephens, 663 S.W.3d 45.
The court held that Texas Election Code Section 273.021, which gave the
Attorney General independent authority to bring criminal prosecutions, vio-
lated the state constitution’s separation of powers. Jd. at 51-57. The court
explained that the Texas constitution gives county and district attorrjeys the
“specific duty” to represent the state in criminal prosecutions. Jd. at 42. The
Attorney General, as part of the state’s executive branch, has no similar, in-
dependent power under the state constitution. Jd. at 55-56. It was therefore
a violation of separation of powers for the legislature to delegate sucht prose-
cutorial power to the Attorney General. Jd. at 55-57.°

The district court read Stephens as holding that “only local disfrict at-
torneys have independent authority to prosecute criminal offenses urjder the
Election Code.” Because the Texas Election Code specifically contemplates
the district attorneys’ involvement in criminal prosecutions of codf viola-
tions, “[t]ogether, the language of the Election Code and Stephens ¢onfirm
that county and district attorneys have authority to compel or constraih a per-
son’s ability to violate” the challenged S.B. 1 provisions.

Ogg agrees that she has authority to enforce the relevant provisions of
law that the Plaintiffs challenge. She argues she has no duty to bring any

® The pronouncements of the Texas Court of Criminal Appeals on state|criminal
law are authoritative in this court, equal to the respect we give holdings by the Supreme
Court of Texas on civil law. See Arnold v. Cockrell, 306 F.3d 277, 279 (5th Cir. 2002).

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prosecutions; instead, she has “complete discretion” over whether t
criminal charges, which is distinct from the “specific duty” requirec
parte Young to apply. As support, she cites Texas Code of Crimina
dure Article 2.01, which states that “[i]t shall be the primary duty of
ecuting attorneys, including any special prosecutors, not to convict
see that justice is done.” Ogg is correct that mere authority is not ¢
See Texas Democratic Party IT, 978 F.3d at 181.

The Plaintiffs argue Ogg does, in fact, have a “specific duty’

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force the Texas Election Code. They rely on Stephens, which charaqterized

the exclusive authority of district attorneys to bring criminal prosecu'

ions as

a “specific duty.” Stephens, 663 S.W.3d at 52. Examining that se

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Stephens, we see that the court was distinguishing the Attorney General from
local prosecutors. Jd. The court held there was no “specific grant of puthor-

ity” in the Texas constitution to the Attorney General for “the pros
of criminal proceedings,” as the “[c]onstitution already grants this ay
to county and district attorneys. See Tex. Const. art. V, § 21. Beca
is already the specific duty of county and district attorneys,” it was n
cific duty of the Attorney General. Jd.

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When the Court of Criminal Appeals referred to local prosec

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crime as the “specific duty” of officials like Ogg, it was not using that phrase
in the same sense as our Ex parte Young precedent. Our analysis under Ex
parte Young is essentially the reverse. That is, our analysis is “‘provigion-by-
provision’: The officer must enforce ‘the particular statutory provision that
is the subject of the litigation.’” Texas All, 28 F.4th at 672 (quoting Texas

Democratic Party IT, 978 F.3d at 179). Reading Stephens’s “specific du

ty”? lan-

guage as satisfying Ex parte Young’s connection requirement would me dis-

trict attorneys the proper defendants in challenges to a// criminal stat
egorically. Our precedent demands more from a state statute.

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Discretionary authority to act, on its own, is insufficient to giv¢ rise to

a particular duty to act, ie., a “sufficient connection [to] enforcement
of Austin, 943 F.3d at 998 (alteration in original) (quoting Ex parte Yo

U.S. at 157). The Plaintiffs counter that the Supreme Court’s dec
Whole Woman’s Health v. Jackson, 595 U.S. 30 (2021), dictates that au
to enforce alone, even if discretionary, is sufficient to overcome so
immunity. Specifically, the Plaintiffs quote language, joined only by a
ity of Justices, that Ex parte Young applied to state officials “who may

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take enforcement actions against the petitioners.” Whole Woman’s Health,

595 U.S. at 45 (emphasis added). The Plaintiffs suggest the “may or

must”

language of the plurality changes our precedent regarding the scop¢ of the

enforcement connection required under Ex parte Young.

Of course, the portion of the Supreme Court’s decision on wh

lich the

Plaintiffs rely did not gain a majority of the Court. Jd. We may not

errule

one of this court’s precedents unless “such overruling is unequivodally di-
rected by controlling Supreme Court precedent.” Jn re Tex. Grand Prairie

Hotel Realty, LLC, 710 F.3d 324, 331 (5th Cir. 2013) (quoting Ree
Metro. Univ., Inc., 681 F.3d 630, 648 (5th Cir. 2012) (Dennis, J., s|
concurring)). Four other Justices did agree the suit in Whole Woman’s
could continue against certain state licensing officials “who retain ay
to enforce” the challenged statute. Whole Woman’s Health, 595 U.
60 (Roberts, C_J., joined by Breyer, Sotomayor, and Kagan, JJ., concu
the judgment in part and dissenting in part). These Justices concury
in the judgment, not the reasoning, of the plurality, and there is no co
ality between those opinions that would allow us, much less unequ
direct us, to overrule our binding precedents. See Drive Fin. Servs
Jordan, 521 F.3d 343, 349-50 (5th Cir. 2008).

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In addition, the Plaintiffs’ reliance on Whole Woman’s Health is mis-

placed: the statutes in that case purporting to grant state officials ax

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to enforce the challenged laws were markedly different from what is at issue

ble. In Whole Woman’s Health, the eight Justices that agreed the plaintiffs’
suit could proceed relied on Texas Occupational Code Section 164.056 (a) for
their determinations that the state licensing officials, in the words of the plu-
rality, “may or must take enforcement actions against” the plaintiffy if they
violate the challenged statute. Whole Woman’s Health, 595 U.S. at) 45-46.
The cited provision states that “[t]he board shail take an appropriate disci-
plinary action against a physician who violates” the statute that the plaintiffs
challenged. TEx. Occ. CoDE § 164.055(a) (emphasis added).?

Here, there is no statute that commands Ogg to prosecute Texas Elec-
tion Code violations. Instead, Ogg’s authority to bring criminal proserutions
on behalf of the State is derived from the Texas constitution, as recognized
in Stephens, 663 S.W.3d at 52, and from the Texas Code of Criminal Proce-
dure, which states “[i]t shall be the primary duty of all prosecuting attor-
neys ... to see that justice is done,” TEX. CODE CRIM. P. art. 2.04 Un-
der Texas Occupational Code § 164.055(a), the specific duty of the lipensing
officials to take enforcement action was clear. Here, there is no such(clarity.

° Under Texas law, “[t]he term ‘shall,’ . .. ‘imposes a duty.’” Garza ». Aarrison,
574 S.W.3d 389, 402 (Tex. 2019) (quoting TEx. Gov’ Cope § 311.016(2)).

1 Although we do not evaluate the terms of each challenged S.B. 1 provision, we
are not departing from our approach to evaluate Ogg’s enforcement connection
* ‘provision-by-provision.’” Texas All,, 28 F.4th at 672 (quoting Texas Democratiq Party II,
978 F.3d at 179). We are able to do so because the source of Ogg’s purported enfarcement
connection is the same for all S.B. 1 provisions that create or implicate |criminal
punishment. Accordingly, our analysis is the same for each provision.

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Finally, Texas law did not give the licensing officials authority

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r to en-

force the statute that was challenged in Whole Woman’s Health. sf the

Supreme Court remanded the case to this court, we certified to the S

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Court of Texas the question of whether state law authorized the named li-

censing officials to enforce the statute. Whole Woman’s Health v. Jach

son, 23

F.4th 380, 389 (5th Cir. 2022). The court answered that the licensi
cials could not enforce the challenged statute because its “exclusive-
ment provision” provided it could only be enforced through private

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tions. Whole Woman’s Health v. Jackson, 642 S.W.3d 569, 576-77 (Tex.

2022). Accordingly, we remanded with instructions to dismiss all ch
to the private enforcement provisions. Whole Woman’s Health v. Jac
F.4th 1004, 1006 (5th Cir. 2022).

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eson, 31

In sum, “[t]o be amenable to suit under [Ex parte Young], tf state

actor must both possess the authority to enforce the challenged law a
a sufficient connection [to] the enforcement of the challenged act.”

d have
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kamp v. Linthicum, 6 F.4th 662, 670 (5th Cir. 2021) (third alteration in origi-

nal) (emphasis added) (quotation marks and citations omitted). He
has discretionary authority to bring criminal prosecutions within her j

tion, including for violations of the Texas Election Code. This ne is

not derived from that code itself but is rooted in the Texas constituti
has a general duty to “see that justice is done,” TEx. CODE CRIM
2.01, but that is not enough. Texas All., 28 F.4th at 674.

In some prior Texas election law cases where we held the nar

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fendant was not the proper Ex parte Young defendant, we identifie
state officials who could be proper defendants under the doctrine. S

eid. at

672-73; Ostrewich v. Tatum, 72 F.4th 94, 100-01 (5th Cir. 2023); Mi Familia
Vota v. Abbott, 977 F.3d 461, 468 (5th Cir. 2020). We do not do so Here be-

cause, as the Plaintiffs maintain, it may very well be that “no state
ha[s] a greater connection to the Criminal Provisions than district at

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like Ogg.” The Plaintiffs therefore may reasonably wonder if not Ogg, then
who?

Nevertheless, “as panels before us, we find that we need nof define
the outer bounds of this circuit’s Ex parte Young analysis today.” Cit of Aus-
tin, 943 F.3d at 1000. Instead, we analyze our other enforcement connection
guideposts to confirm our conclusion that Ogg is not the proper Ax parte
Young defendant.

B. Ogg’s willingness to enforce the challenged provisions

Our second Ex parte Young enforcement connection guidgpost is
whether the official has a “demonstrated willingness” to enforce the chal-
lenged statute. Texas All, 28 F.4th at 672 (citation omitted). This means
“the state officials must have taken some step to enforce” the statute, Texas
Democratic Party I, 961 F.3d at 401. In deciding how big the step njust be,
“the bare minimum appears to be ‘some scintilla’ of affirmative action by the
state official.” Jd. (citation omitted). Such action may be shown Ihrough
past enforcement of the statute. See Air Evac EMS, Inc. v. Tex., Dep’sof lus.,
Div. of Workers’ Comp., 851 F.3d 507, 519 (Sth Cir. 2017). If the plaintiffs
bring a pre-enforcement action, as has occurred here, prior enforcement ob-
viously will be lacking. Nevertheless, we still require “‘some scintilla’ of af-
firmative action by the state official.” Texas Democratic Party I, 961|F 3d at
401 (citation omitted).

In finding the Plaintiffs met their burden on this guidepost, the(district
court applied our Article III standing analysis to the Ex parte Young issue.
Specifically, the district court relied on our decision in Speech First] Inc. ».
Fenves, 979 F.3d 319 (5th Cir. 2020). There, we held that Speech First had
associational standing to challenge the University of Texas at Ajustin’s
speech regulations. Jd. at 330, 338. We stated that “when dealing wjth pre-
enforcement challenges to recently enacted (or, at least, non-moyibund)

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statutes that facially restrict expressive activity by the class to which the
plaintiff belongs, courts will assume a credible threat of prosecutiom in the
absence of compelling contrary evidence.” Jd. at 335 (quoting Vew|Hamp-
shire Right to Life PAC v. Gardener, 99 F.3d 8, 15 (1st Cir. 1996)). The district
court relied on this statement to assert that a conclusion “that the Private
Plaintiffs lack[] standing to challenge the provisions that create or implicate
criminal offenses based on the purported absence of any enforcement of these
laws for now, would improperly and permanently deprive the Private Plain-
tiffs of much-needed relief Jater.” As part of their arguments on apppal, the
Plaintiffs also rely on Speech First and other standing cases regarding the First
Amendment. .

As is clear on the face of the district court’s decision, its analysis was
focused on standing, not Ex parte Young’s enforcement connection nequire-
ment. We have previously highlighted the similarities between our #x parte
Young analysis and our Article III standing analysis." See City of Austin, 943
F.3d at 1002. Nonetheless, they are “not identical.” iGen Biotech, |LLC ».
Paxton, 804 F.3d 389, 394 n.5 (5th Cir. 2015).

Standing is the “irreducible constitutional minimum” for |federal
courts to exercise jurisdiction under Article III’s “case” or “contrqversy”
requirement. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). Sovereign
immunity presents a common law barrier to the exercise of federal judicial
power that predates Article III. See Blatchford v. Native Vill. wa & Cir-
cle Vill., 501 U.S. 775, 779 (1991). The Eleventh Amendment reinfor¢ed this

4" The “significant[] overlap” between standing and our Ex parte Young
enforcement connection guideposts primarily rests with the traceability and redrqssability
components of standing. City of Austin, 943 F.3d at 1002. Where, as her pre-
enforcement action is brought seeking an injunction, our guideposts regarding a particular
duty and a demonstrated willingness to enforce may also overlap with whether threatened
injury is sufficiently imminent to support standing. See id.

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barrier by forbidding federal courts from construing Article III to allgw suits
against the States without their consent. See Alden v. Maine, 527 USS. 706,
722-23, 726-27 (1999). Ex parte Young was a judicial invention that provides
a narrow pathway to overcome sovereign immunity that is necessary fo guar-
antee “the effective supremacy of rights and powers secured elsewherr in the
Constitution.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 9, 105
(1984) (quoting Perez v. Ledesma, 401 U.S. 82, 106 (1971) (Brennan, J., con-
curring in part and dissenting in part)).

Our enforcement connection guideposts, on the other hand, Help en-
sure that a defendant has “some connection with the enforcemenj of the
act,” in the absence of which the State becomes the real party, in violation of
the Eleventh Amendment. Ex parte Young, 209 U.S. at 157. Thus, what is
sufficient for standing will not necessarily establish an enforcement gonnec-
tion. Here, regardless of whether the record is sufficient to establish stand-
ing, it does not support the conclusion that Ogg has demonstrated a willing-

ness to enforce the challenged election code provisions.

Ogg has taken no action with respect to the Texas Election Cade pro-
visions challenged by the Plaintiffs. Ogg never enforced the challenged pro-
visions in the past, as this suit was brought only six days after the governor
signed S.B. 1 and months before its provisions became effective. A history of
prior enforcement is not required, especially in the pre-enforcement ¢ontext
that applies here. See Calhoun v. Collier, 78 F.4th 846, 851 (Sth Cirj 2023).
Nevertheless, the Plaintiffs must allege some action taken by Ogg to\show a
demonstrated willingness to enforce. Texas Democratic Party I, 961 F.3d at
401. The Plaintiffs have not done so.

Ogg argues she has demonstrated her unwillingness to enforce S.B. 1
by offering to stipulate that she will not enforce the challenged one pro-

visions until a final, non-appealable decision has been issued in this cage. The

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district court discounted Ogg’s offer because an offer not to enforce “for
now” would not prevent her from enforcing the statute “ater” if the case
were dismissed. The Plaintiffs assert on appeal that Ogg’s stipulatiqn argu-
ment is meritless because the stipulation “was not agreed to by the parties”
and is “severely limited in scope.”

The district court’s analysis and the Plaintiffs’ argument regarding
Ogg’s stipulation focus on the wrong people at the wrong time. We have
discussed that the district court’s analysis relied on our standing pretedent,
and its point about the stipulation is well taken in the standing context. Our
focus, however, is not on standing. To determine whether an offigial has
demonstrated a willingness to enforce a challenged statute, we consider the
prior or contemporaneous affirmative acts of the named official. Sve, eg.,
K.P. ». LeBlanc, 627 F.3d 115, 124-25 (5th Cir. 2010) (Board’s prior enforce-
ment of the statute); WiGen, 804 F.3d at 395 (Attorney General’s letters
threatening enforcement). This is consistent with Ex parte Young’s founda-
tional requirement that a violation of federal law be ongoing. Verizon Md., Inc.
y. Pub. Serv. Comm’n of Md., 535 U.S. 635, 645 (2002). Although an j‘actual
threat of or imminent enforcement is not required,” Calhoun, 78 F.4th at 851
(quotation marks and citation omitted), some affirmative action on thd part of
the named defendant is, Texas Democratic Party I, 961 F.3d at 401.

For these reasons, the Plaintiffs’ failure to accept Ogg’s stipulption is
irrelevant. Our focus is on Ogg’s prior or likely actions. She has attested that
she will not attempt to enforce the challenged provisions until thig suit is
over. Although we have not ruled on this previously, other circuits have held
that officials’ attestations that they will not enforce a challenged statute while
litigation over its constitutionality is ongoing sufficiently negates the|charge

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of a demonstrated willingness to enforce. See, ¢.g., Minnesota RFL) Repub.
Farmer Lab. Caucus v. Freeman, 33 F.4th 985, 992 (8th Cir. 2022).

The Plaintiffs’ refusal to agree to Ogg’s stipulation does not affect
Ogg’s promise not to enforce the challenged statutes. On appeal, Opg con-
tinues to assert that she will abide by that promise. Similarly, a “fajlure to
disavow future prosecutions” following litigation “is not fatal to [pn offi-
cial’s] claim of Eleventh Amendment immunity.” Jd. Thus, although it may
be relevant for standing, Ogg’s failure to disavow prosecutions after this liti-
gation concludes is not a basis for finding Ex parte Young applies.”

The Plaintiffs also argue that “Ogg is likely to enforce ee At-
torney General and Secretary of State have significant control and influence
over her enforcement discretion, and have threatened enforcement of the
Criminal Provisions.” The Plaintiffs cite several election code prqvisions
that require the Attorney General and district attorneys to investigate|certain
violations of the Texas Election Code and authorize the Attorney General to
request assistance from district attorneys when conducting such inyestiga-
tions. See TEx. ELEc. CODE §§ 273.001, 273.002, 273.022. hough
these provisions may be relevant for standing, see Speech First, 979 F.3d at

12 We do not resolve whether statements made during the course of litigatipn about
future behavior, by themselves, are sufficient to insulate state officials from Fe parte
Young’s exception to sovereign immunity. For our purposes here, it is enough ta say that
Ogg’s promise not to enforce the challenged election code provisions provides further
evidence that she is not a proper Ex parte Young defendant.

18 To the extent Ogg reneges on her promise, the Plaintiffs may be able tp amend
their complaint to reassert their constitutional claims and overcome sovereign immunity
because “claims barred by sovereign immunity are dismissed without prejudice. ”| Block ».
Tex. Bd. of L. Exam?rs, 952 F.3d 613, 620 (Sth Cir. 2020) (quotation marks and citation
omitted).

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330-31, they provide no support for the Plaintiffs’ contentions within the
context of our enforcement connection analysis.

First, as noted, our focus is on Ogg’s actions, not on those df other
officials. Second, the Plaintiffs’ arguments not only assume the Aftorney
General and Secretary of State will attempt to influence Ogg, but also hssume
she will be influenced. The Stephens court explained that the Texas|consti-
tution “mandates a vertical separation of powers between the Attorn¢y Gen-
eral and the district attorneys in matters of criminal prosecution.” Stephens,
663 S.W.3d at 50. It would violate this separation of powers for the Attorney
General and Secretary of State to exercise undue influence over Ogg/s pros-
ecutorial discretion. Jd. We will not presume such a violation.

The Plaintiffs thus have not shown Ogg has demonstrated a willing-
ness to enforce the contested election code provisions.

C. — Ogg’s compelling or constraining the Plaintiffs

To determine whether an official has a sufficient connectioy to the
challenged statute, we analyze what “enforcement” means in the context of
that statute. City of Austin, 943 F.3d at 1000. “Panels in this circuit have
defined ‘enforcement’ as ‘typically involv[ing] compulsion or constyaint.’”
Id, (alteration in original) (quoting K.P., 627 F.3d at 124). Although there
may be many officials involved in enforcing a statute, “[i]f the official does
not compel or constrain anyone to obey the challenged law, enjoining that

official could not stop any ongoing constitutional violation.” Texas Hil. 28
F.4th at 672.

The Plaintiffs argue “the threat of enforcement by Ogg h¢s con-
strained Plaintiffs from engaging in activities” that S.B. 1 purports to grohibit
“for fear of prosecution.” The Plaintiffs assert their members have been de-
terred from participating in “voter education and [get-out-the-vote] efforts.”

The Plaintiffs also allege that “they have instructed their members |]. . ‘not

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to provide direct, in-person voting assistance’” and are no longer “pr pviding

volunteers with food, student stipends, and other incentives that cpuld be

construed as illegal ‘compensation.’”

Those allegations do not affect our earlier analysis that Ogg fas not
done or threatened to do anything. We focus our attention on Ogg’s gctions.
See K.P., 627 F.3d at 125; NiGen, 804 F.3d at 395. In some cases, it is difficult
to determine whether a state official’s role in enforcing a challengedjstatute
amounts to “compulsion” or “constraint.” For example, in one d¢cision,
we analyzed whether the Texas Commissioner of Insurance and th¢ Texas
Commissioner of Workers’ Compensation “enforced” the Texas
Compensation Act that was allegedly preempted by federal law as applied in
that case. Air Evac, 851 F.3d at 510-11, 519. We held that by setting maxi-
mum rates insurers can pay healthcare providers for workers’ compensation
claims and by arbitrating any fee disputes, the Commissioners “constqain Air
Evac’s ability to collect” what would have been allowed under fedefal law.
Id, at 519 (emphasis in original). Conversely, where the official’s role in en-
forcing a statute was merely to train and advise other officials, such 4cts did
not “compel or constrain” anyone to comply with the statute. Ostrepich, 72
F.4th at 100-01.

Here, the Plaintiffs allege the existence of the challenged statues cou-
pled with Ogg’s authority to prosecute criminal cases constrained the Plain-
tiffs because of their fear of prosecution. Although this fear of prosecution
may be sufficient for standing, it is insufficient to demonstrate compulsion or
constraint under our Ex parte Young precedent. Ogg has neither enforped the
challenged statute against anyone nor threatened to do so. Ogg has authority
to prosecute those that violate the election code; the threat of fs Poe

ecution may be the pinnacle of compulsion or control. See Steffel v. Thomp-
son, 415 U.S. 452, 475 (1974). We have held, however, that “the m¢re fact
that the [state official] Aas the authority to enforce [the challenged statute]

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cannot be said to ‘constrain’” the party challenging the statute. Cityof Aus-
tin, 943 F.3d at 1001 (emphasis in original). Furthermore, to the oiler the
Plaintiffs argue Ogg’s ability to investigate election code violations compels
or constrains their conduct, that power does not rise to the level of compul-
sion or constraint needed. Ostrewich, 72 F.4th at 101. Thus, the Plaintiffs
have failed to demonstrate that Ogg has acted or will likely act in a way that
would compel or constrain the Plaintiffs in order to “strip” Ogg of Her sov-

ereign immunity. Jd.

We conclude Ogg is not a proper Ex parte Young defendant. We rec-
ognize that this may seem contradictory because we often have said “local
officials” likely would be proper Ex parte Young defendants in the context of
other election law cases. See, ¢.g., Mi Familia Vota, 977 F.3d at 468. |Never-
theless, a “case-by-case approach to the Young doctrine has been pvident
from the start.” Jdaho v. Couer d’Alene Tribe of Idaho, 521 U.S. 261, 280
(1997). We continue that approach today.

The Plaintiffs protest that holding Ogg is an improper Ex parte Young
defendant “invites an absurd outcome in which no valid officer can be sued
to provide relief from constitutional violations.” Our holding simply feflects
that “those seeking to challenge the constitutionality of state laws arq not al-
ways able to pick and choose the timing and preferred forum for thejr argu-
ments.” Whole Woman’s Health, 595 U.S. at 49. The Supreme Court “has
never recognized an unqualified right to pre-enforcement review of cqnstitu-
tional claims in federal court.” Jd. The simple fact is that “many jfederal
constitutional rights are as a practical matter asserted typically as defanses to
state-law claims, not in federal pre-enforcement cases like this one.’} Jd. at
49-50. This is not absurd.

In summary, the guideposts we just considered demonstrate that Ogg
is not a proper defendant under Ex parte Young.

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HE. Pendent appellate jurisdiction to review standing

Ogg asks us to exercise pendent appellate jurisdiction to rev}
district court’s determination that the Plaintiffs’ have standing to bri

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utory claims from which she is not immune. Whether to exercise pendent

appellate jurisdiction to address determinations not properly subject
lateral order jurisdiction is a matter of discretion. See Byrum v. Landr

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th, 566

appeal, the ability to enjoy pendent appellate jurisdiction is carefully gircum-

F.3d 442, 449 (5th Cir. 2009). “Beyond the limited right to an sf

scribed.” Escobar v. Montee, 895 F.3d 387, 391 (5th Cir. 2018). Pen

pellate jurisdiction may be exercised “(1) [i]f the pendent decision is
tricably intertwined’ with the decision over which the appellate cour
wise has jurisdiction,” or “(2) if ‘review of the former decision [is] ne

ent ap-
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to ensure meaningful review of the latter.’” Jd. (second alteration in ofiginal)

(quoting Swint ». Chambers Cnty. Comm’n, 514 U.S, 35, 51 (1995)).

Ogg argues we should exercise our discretion here because the
icant overlap between standing and our Ex parte Young analysis ma
two inextricably intertwined. Therefore, a review of standing would

signif-
kes the
ensure

our review of sovereign immunity is meaningful. In an unpublished opinion,

a previous panel of this court agreed. See Williams v. Davis, No. 22
2023 WL 119452, at *4 (5th Cir. Jan. 6, 2023).

In deciding whether to follow that panel’s course, we first c
that it may be appropriate to exercise pendent appellate jurisdiction
the court will decide some issue in the properly brought interlocutory

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if: ‘“(1)
appeal

that necessarily disposes of the pendent claim; (2) addressing the pendent

claim will further the purpose of officer-immunities by helping the
avoid trial; (3) the pendent claim would be otherwise unreviewable; or
claims involve precisely the same facts and elements.” Escobar, 895

officer
(4) the
F.3d at

392-93. Ogg’s appeal of the district court’s standing determination fits into

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none of these categories because (1) our sovereign immunity holding t not
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necessarily dispose of the issue of standing; (2) addressing standi

claims from which Ogg is not immune will not further the purpose of j

ity; (3) standing is otherwise reviewable; and (4) standing and our
Young analysis do not “involve precisely the same facts and elemen
We have already explained why this is so.

More to the point, the parties’ briefing before us and our decisi
cerning the Plaintiffs’ constitutional claims make this an ill-suited cas
dress standing at this time. The district court relied on a diversio

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” Id.

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sources theory to find the Plaintiffs had organizational standing against Ogg.

That is, the district court found the Plaintiffs sufficiently alleged

lenged provisions of S.B. 1 will force them to divert resources from t|
dinary activities to counteract the law’s effects, thereby causing them
izational injury. In her briefing before us, Ogg does not even ment
argument. Were this any issue other than standing, we would say th

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ion the
at Ogg

has forfeited the argument. See Rollins v. Home Depot USA, 8 F 4th 393, 397

& n.1, 398 (5th Cir. 2021).

Instead of addressing the district court’s reasoning on standing, the

parties dispute whether the Plaintiffs have associational or organiz
standing and whether they or their members are injured by fear of

ational
future

prosecution.4 The district court was presented with this basis for standing

but made its determination under the diversion-of-resources theory.

Thus,

although we are mindful of our continuing obligation to assure oursqlves of

4 Unlike Ogg, the Plaintiffs mention the actual basis for the district
he issue.

standing determination and ask us to affirm on those grounds should we reach t
Ogg did not respond to these arguments.

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court’s

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jurisdiction, we will not decide the issue on a basis not reached by the
court, especially when the parties do not dispute that basis.

Finally, it may be necessary for the district court to reexamine
sue of standing in light of our decision today. Our holding requires

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district

the is-
the dis-

trict court to dismiss the Plaintiffs’ constitutional claims against Ogg Hecause
she is immune from them. Neither the Plaintiffs’ amended complaints nor

their briefs provide a clear delineation of how their injuries are attribu

table to

their statutory claims independent of their constitutional claims. Thi

makes

an initial decision from our court on the matter particularly questibnable.
Now that their constitutional claims can no longer be asserted againstj Ogg, a
new determination on standing may be needed. We know the distrigt court
will “carefully consider . . . jurisdictional challenges before proceeding to the

merits.” Planned Parenthood Gulf Coast, 24 F.4th at 454.
CONCLUSION

In summary, jurisdiction exists to consider whether Ogg is immune

from certain claims even though immunity is abrogated for others. Th
tiffs fail to demonstrate an adequate enforcement connection betwe
and the challenged provisions of S.B. 1 for Ex parte Young to apply.
not reach Ogg’s arguments about standing.

REVERSED in part, VACATED in part, and REMANDED.

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 Plain-
n Ogg
We do

